          Case 8:21-cr-00129-TDC Document 21 Filed 08/25/21 Page 1 of 9


                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                            :

               v.                                   :         CRIMINAL NO. TDC-21-129

BRUCE THOMAS,                                       :

               Defendant.                          :

                                              ...oooOooo...

                    GOVERNMENT’S SENTENCING MEMORANDUM

       The United States of America, by its counsel, Jonathan F. Lenzner, Acting United States

Attorney for the District of Maryland, and Harry M. Gruber and Dana J. Brusca, Assistant United

States Attorneys for said District, hereby submits its Sentencing Memorandum in the above-

captioned case.

       For the reasons set forth below, the government respectfully requests that this Court

sentence the defendant to a year and a day in prison, followed by three years of supervised release,

restitution of $27,890.62, a fine of $50,000, and a special assessment of $100. The government

submits that this sentence is a reasonable and appropriate punishment, pursuant to the sentencing

factors articulated in 18 U.S.C. § 3553(a).

The Offense of Conviction

       From approximately 2012 to 2019, Defendant Bruce Thomas (“Thomas” or “Defendant”),

operated a very successful business, Pinnacle Orthopedic Services, Inc. (“Pinnacle”), which was

operated out of his residence in Germantown, Maryland. During this time, Pinnacle provided

orthotic and prosthetic materials to the Prosthetics and Orthotics Department at Walter Reed

National Military Medical Center (“Walter Reed”). Pinnacle primarily purchased the materials

that it sold to Walter Reed from other companies located throughout the United States. Many of
          Case 8:21-cr-00129-TDC Document 21 Filed 08/25/21 Page 2 of 9

those companies sought to establish direct relationships with Walter Reed, and provide materials

directly to Walter Reed, but were denied the chance to do so until after the government’s criminal

investigation became public.

       During this time, Walter Reed played a critical role in the U.S. military’s ability to fight

foreign conflicts, primarily by providing medical services to active duty injured soldiers, including

prosthetic and orthotics services. Walter Reed also provided other medical services.

       During the five year period 2012 to 2017, Thomas knowingly provided gratuities to a

public official, David Laufer, for and because of official acts by Laufer. Thomas stipulated in his

plea agreement that he “provided Laufer with cash gratuities on a regular basis amounting to at

least $20,000.” ECF No. 12 at 12. Thomas also stipulated to providing Laufer with numerous

non-cash gratuities, including “airline travel, lodging, entertainment tickets,” “food, drinks, and

other benefits.” Id. at 11-12.

       Pursuant to these gratuities, Thomas and Laufer went on trips together to California,

Boston, Las Vegas, Atlantic City, and on at least three different occasions to Florida. Some of the

trips were related to professional training.      However, many of the trips were unabashed

boondoggles. To give the Court a sense of the trips, on one visit to Florida, Laufer and Thomas

took a factory tour of Grace Prosthetic Fabrication, Inc. (“Grace”), 1 a Florida company from which

Pinnacle purchased a large amount of prosthetics and orthotics. Other than a brief tour of Grace,

the rest of the trip was pretty much occupied with entertainment and enjoyment, including meals,

drinking, and visits to adult entertainment venues. 2




1
        At one point, Grace was selling more than $200,000 a month of products to Walter Reed
through Pinnacle, and Walter Reed represented Grace’s largest end user.
2
        On another trip to Tampa, Laufer and Thomas met with one of Grace’s owners, but did
not visit Grace. Grace typically received orders directly from Walter Reed, and shipped the
products direct to Walter Reed. Pinnacle would handle the billing.
                                                  2
          Case 8:21-cr-00129-TDC Document 21 Filed 08/25/21 Page 3 of 9

       In March 2015, Thomas also paid for Laufer and his wife to travel first class to Las Vegas

for their anniversary. This trip didn’t even have a purported business reason.

       Laufer never sought permission to take the trips as official government travel, took annual

leave for the trips paid for by Thomas, and neither Laufer nor Thomas informed Walter Reed

higher-ups about the trips. Laufer also never declared the trips on his required annual government

disclosure forms (OGE 450/OGE 450A).

       Laufer was the Chief of the Prosthetics and Orthotics Department at Walter Reed and

regularly interacted with Thomas on behalf of the government. Among other official acts, Laufer

consistently caused government funding to be allocated to Pinnacle through a government

contracting method called a Blanket Purchase Agreement (“BPA”), and repeatedly approved

Walter Reed’s orders for prosthetic and orthotic materials from Pinnacle. ECF 12 at 12. The

Information and factual stipulation set forth in detail how Laufer repeatedly undertook official acts

while he was being provided with gratuities, and how these official acts kept resulting in significant

funds flowing to Pinnacle and Thomas. During the time period 2012 to 2019, more than $20

million of government funds were paid to Pinnacle. Id. at 10.

       As time went on, Laufer could not spend the cash Thomas was providing to Laufer, and

Laufer deposited significant amounts of cash into his bank accounts. Law enforcement detected

Laufer’s unusual cash deposits. Over time, agents repeatedly questioned Laufer about the sources

of this cash, and Laufer repeatedly denied that the cash came from Thomas. United States v.

Laufer, No. TDC-19-593, ECF 39 at 13. After the search warrants, Laufer confided to Hamilton

that he would never admit the cash. Eventually, Laufer (and later Thomas) admitted that the cash

consisted of gratuity payments from Thomas. Thomas specifically admitted in his plea to paying

Laufer more than $20,000 in cash gratuities and providing numerous other non-cash gratuities.

ECF 12 at 11-12.


                                                  3
         Case 8:21-cr-00129-TDC Document 21 Filed 08/25/21 Page 4 of 9

       As Thomas paid gratuities and Laufer continued to accept them, Laufer “restricted the

availability of the BPAs to some of the manufacturers and distributors from whom Pinnacle

purchased products, thereby inhibiting those companies from doing business directly with Walter

Reed.” ECF No. 12 at 13. Laufer also directed “multiple manufacturers and distributors to sell to

Walter Reed through Pinnacle.” Id. This caused Walter Reed to pay more money than it would

have paid to the original manufacturers and distributors because Pinnacle’s price to Walter Reed

included Pinnacle’s markup.

       Law enforcement executed multiple search warrants in connection with the criminal

investigation into the activities of Thomas, Laufer, and others. As the warrants were being

executed, federal agents spoke with Thomas. During the interviews, Thomas admitted to law

enforcement that the items he sold were typically marked up between 40 and 50 percent over the

manufacturer suggested retail price. Thomas stated that Pinnacle’s yearly gross income was $3-5

million, and that Walter Reed accounted for approximately $3-4 million of that income.

       Unfortunately, Thomas also was not truthful with the agents. He denied—contrary to his

plea agreement’s factual stipulation—that he ever paid Laufer cash. He denied providing cash to

Laufer despite repeated questions from the agents about Thomas’ use of cash. Moreover, contrary

to his guilty plea, Thomas also denied providing hockey tickets to any government employee.

Regarding the trips, Thomas falsely claimed that each person paid their own way on the trip to

Tampa, Florida.

       As a result of his special relationship with Walter Reed, which primarily accounted for the

profits of Pinnacle during the time periods covered by Thomas’ plea, Thomas made significant

amounts of money. The presentence report details Thomas’ significant assets, including two

residences collectively valued at more than $1 million, and trading accounts valued at more than




                                                4
          Case 8:21-cr-00129-TDC Document 21 Filed 08/25/21 Page 5 of 9

$3 million. The Thomas family obtained most of its income over the last decade from Pinnacle, 3

and they have a net worth of more than $4.5 million. ECF 19 at 13 (Presentence Report).

The Advisory Sentencing Guidelines Calculation

       The plea agreement contemplated a dispute between the parties regarding the amount of

cash provided by Thomas to Laufer. Recognizing the additional discovery, sentencing testimony,

and potential issues raised by this factual dispute, the government has determined that it will ask

this Court to sentence Thomas solely on the basis of the guidelines calculation that he admitted in

his plea agreement. This only results in a one point decrease in the final offense level, and a

difference of only three months in the advisory federal sentencing guidelines range. 4

       Accordingly, based on the stipulations by Thomas in the plea agreement, the government

submits that the following advisory sentencing guidelines calculation at sentencing should be

undisputed:

       Base Offense Level = 9 (§2C1.2(a)(2))

       Adjustment Based on multiple gratuities: +2 (USSG §2C1.2(b)(1))

       Adjustment based on value of the gratuity: +4 (USSG §§ 2C1.2(b)(1), 2B1.1(b)(1)(C)

       Acceptance of Responsibility: -2 (USSG § 3E1.1(a))

       Final Adjusted Offense Level: 13



3
        Thomas’ wife also worked for Pinnacle during these crimes. Thomas’ wife told federal
agents on March 28, 2017 that she worked as President of Pinnacle Prosthetic Labs (“PPL”), and
the co-owner/administrator of Pinnacle. Her duties touched on many aspects of Pinnacle’s
relationship with Walter Reed, including billing, orders, invoicing, and the entering of
information in QuickBooks. She also told federal agents that Pinnacle and PPL did not use cash
and that she was unaware of any improper relationships with government employees.
4
        As set forth in the presentence report, based on a loss of $40,000-90,000, consisting of
cash payments from Thomas to Laufer, plus the non-cash gratuities, such as airfare, dinners, and
other benefits, the offense level before acceptance of responsibility would be 17, resulting in a
final offense level of 14, and an advisory range of 15-21 months’ incarceration. Due to the
acceptance of responsibility rules, as set forth in USSG § 3E1.1, the final advisory guidelines
range under Thomas’ stipulated loss amount would be 12-18 months’ incarceration.
                                                5
          Case 8:21-cr-00129-TDC Document 21 Filed 08/25/21 Page 6 of 9

       This results in an advisory sentencing guidelines range of 12-18 months’ incarceration.

Pursuant to USSG § 5E1.2(c)(3), based on the above guidelines calculation, the Court is authorized

to impose a fine between 5,500 and $55,000.

The Government’s Sentencing Recommendation

       The government’s proposed term of incarceration would constitute a reasonable sentence

pursuant to 18 U.S.C. § 3553(a), and the Supreme Court’s decision in Gall v. United States, 552

U.S. 38, 51 (2007). It is necessary based on “the nature and circumstances of the offense,” “the

history and characteristics of the defendant,” the need to “to promote respect for the law,” and the

need for both specific and general deterrence. 18 U.S.C. § 3553(a).

       The criminal conduct here was serious, long lasting, and harmful. Thomas provided illegal

gratuities to Laufer on a regular basis for years. This was not a quick crime that constituted a

momentary loss of good judgment. Instead, Thomas’ crimes were well considered and carried out

repeatedly. Moreover, it is apparent that Thomas’ motivation for rewarding Laufer for official

acts stemmed from Thomas’ desire for profit and business success. At its core, both Thomas and

Laufer were governed by greed.

       The illicit relationship between Thomas and Laufer infected the core operations of the

prosthetics and orthotics department at Walter Reed. Although the government does not contend

that the gratuities impacted the care of Wounded Warriors and others, it certainly impacted the

cost of that care to the federal government. Other employees of the Department recognized and

spoke about Pinnacle’s special relationship with Laufer/Walter Reed. Pinnacle’s relationship with

Walter Reed and Laufer certainly lined Thomas’ pockets for years. Thomas talked to the agents

about the significant markups that Pinnacle charged, and how Walter Reed was the source for

much of Pinnacle’s cash flow. Providing financial thanks to Laufer for doing official government

acts related to Pinnacle is a classic form of government corruption, and Thomas knew better.


                                                 6
          Case 8:21-cr-00129-TDC Document 21 Filed 08/25/21 Page 7 of 9

       It is very difficult for the government to detect the type of sly, underhanded corruption that

occurred in this case. And after detection, it is even more difficult to prove a crime beyond a

reasonable doubt. Therefore, the government submits that it is important to send a message by

imposing a significant period of incarceration to specifically deter Thomas from future crimes, and

more importantly, deter all the other government contractors and corrupt government officials, and

to promote respect for the law.

       Furthermore, the government submits that it is important to consider Thomas’ reaction

when the government investigation became known to Thomas. As detailed above, Thomas denied

his cash gratuities and obfuscated regarding several relevant facts. With respect to the benefits

that Thomas eventually admitted providing Laufer, Thomas falsely denied to agents that the

benefits had any connection to Laufer’s official government acts. It was not until much later, after

additional investigation involving interviews, grand jury testimony, and voluminous subpoena

responses, that Thomas finally acknowledged his criminal activities.

       The government submits that these corrupt acts pose a significant danger to good

government, and that Thomas repeatedly made a decision to undercut the function of good

government through many gratuities, including cash payments. This was not an oversight or

accident on Thomas’ part. It was serious criminal conduct that requires a serious period of

incarceration.    Nevertheless, the government recognizes that Thomas timely accepted

responsibility for his criminal conduct, and that his own history and personal characteristics are a

mitigating factor. 5 Accordingly, the government submits that a sentence of one year and one day

is a reasonable sentence.




5
        The government recognizes that Thomas has a limited prior criminal history, and that his
prior encounters with the legal system all appear alcohol related.
                                                 7
          Case 8:21-cr-00129-TDC Document 21 Filed 08/25/21 Page 8 of 9

Restitution, Forfeiture & Fine

       In his plea agreement, Thomas stipulated to the imposition of restitution and forfeiture

orders between $15,000 and $90,000. ECF No. 12 (¶¶ 11, 16). The parties further agreed that the

amount of forfeiture should be equal to the value of the property involved in the Defendant’s

offense. ECF No. 12 (¶ 11).

       In the factual stipulation, Thomas admitted to paying Laufer “cash gratuities on a regular

basis, amounting to at least $20,000 in total,” and admitted to a number of specific non-cash

gratuities. ECF No. 12 at 11-12. In the plea agreement, Thomas stipulated to a specific list of

non-cash gratuities, ECF No. 19 (¶ 21), which had a value of $7,890.62. Accordingly, the

government asks this Court to impose restitution and forfeiture in the amount of $27,890.62.

       The government submits that a $50,000 fine in this case is necessary and appropriate

pursuant to 18 U.S.C. Section 3553(a). The presentence report demonstrates that the Defendant

has the ability to pay a fine, and that a fine is an appropriate sentencing option. ECF 19 at 13-14.

Thomas’ crime stemmed from gratuities related to Thomas’ profitable company, Pinnacle, and

was motivated by financial gain.

                                         CONCLUSION

        Accordingly, the government respectfully requests that this Court sentence the

 Defendant to one year and one day in prison, three years of supervised release, and a fine of

 $50,000, and impose forfeiture and restitution of $27,890.62, and a special assessment of $100.

                                                       Respectfully submitted,

                                                       Jonathan F. Lenzner
                                                       Acting United States Attorney

                                              By       ________/s/___________________
                                                       Harry M. Gruber
                                                       Dana J. Brusca
                                                       Assistant United States Attorneys


                                                   8
        Case 8:21-cr-00129-TDC Document 21 Filed 08/25/21 Page 9 of 9

                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing filing was served on counsel for the

defendant by filing in the Court’s electronic filing system and by email.


                                                    _____/s/__________________
                                                    Harry M. Gruber
                                                    Assistant United States Attorney




                                               9
